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            to move from fieldDocument
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                                         60this form.
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NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:21-cr-00285-JEB


DAMON MICHAEL BECKLEY
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9      RETAINED          9■      FEDERAL PUBLIC DEFENDER



                                                                  (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          Gretchen Staft, AK Bar No. 0911063
                                                          (Attorney & Bar ID Number)
                                          Federal Public Defender - District of Alaska
                                                                 (Firm Name)
                                          188 W. Northern Lights Blvd., Ste. 700
                                                               (Street Address)

                                          Anchorage              Alaska            99503
                                           (City)                 (State)          (Zip)
                                          907-646-3400
                                                             (Telephone Number)
